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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                             X
 PAULO TRINDADE                                              :              Civil Action No.
                                                             :            1:19-cv-10717-ADB
         Plaintiff,                                          :
                                                             :
         v.                                                  :          MOTION TO AMEND
                                                             :           Fed. R. Civ. P. 59(e)
 GROVE SERVICES, INC. and VICTOR SPIVAK                      :
                                                             :
         Defendants.                                         :
                                                             :
                                                             X


         Pursuant to Fed. R. Civ. P. Rule 59(e), Defendants Grove Services, Inc. and Victor

Spivak (together, “Grove”) respectfully move to amend this Court’s Memorandum and Order

awarding attorneys fees, costs and interest under Mass. Gen. Laws. ch. 149 § 150 [ECF. No.

241] (the “Fees and Costs Award”). As discussed briefly below, even though there is no request

or basis to impose liability on counsel, the Fees and Costs Award provides that “Defendants and

their counsel are jointly and severally liable for paying the award.” Fees and Costs Award at 13

(emphasis added). Accordingly, Grove requests that the Court amend the last sentence of the

Fees and Costs Award to eliminate “and their counsel,” which Grove believes was included in

error.

                                           ARGUMENT

         The Wage Act makes no provision for imposition of adverse party fees, costs or interest

against defense counsel. Mass. Gen. Laws. ch. 149 § 150. Mr. Trindade did not seek to impose

attorneys’ fees, costs and interest on Grove’s counsel. [ECF No. 227]. Likewise, Mr. Trindade

also filed no motion against Grove and its counsel under Fed. R. Civ. P. 11. Accordingly, Grove

had no notice that its counsel might be jointly and severally liable for the fees, costs, and interest
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sought by Mr. Trindade in this matter. Absent such notice, as a matter of due process, the Court

should not impose an award against counsel. Media Deduplication Services, Ltd. v. HDG

Software, Inc., 928 F.2d 1228, 1238-39 (1st Cir. 1991) (reversing order on sanctions).

       Moreover, the Court made no finding that Grove or its counsel defended this case in bad

faith or the defenses asserted were frivolous that would be a predicate for liability against

Grove’s counsel under Fed. R. Civ. P. 11. Nor did the Court make any finding that Grove’s

counsel unreasonably or vexatiously multiplied the proceedings of this case. 28 U.S.C.A. §

1927. Accordingly, nothing in the record supports the finding that Grove’s counsel should be

jointly and severally liable under the Fees and Costs Award.

                                         CONCLUSION

       For the foregoing reasons, Grove respectfully moves for the Court to Amend the

Memorandum and Order [ECF No. 241] to:

       A. Eliminate joint and several liability for Grove’s counsel; and

       B. Enter such further an additional relief as the Court finds appropriate.



 Dated: October 27, 2023                              Respectfully submitted,

                                                      Grove Services, Inc. and Victor Spivak

                                                      By their attorney,

                                                      /s/ Irwin B. Schwartz
                                                      Irwin B. Schwartz (BBO# 548763)
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                                     Rule 7.1 Certification

        Pursuant to Local Rule 7.1(a), I hereby certify that on October 4, 2023, and on numerous
times thereafter, I conferred in good faith with Plaintiff’s counsel in person and by email
regarding the issues raised in this Motion to Amend, but we were unable to resolve the issue
raised in the motion.

                                             /s/ Irwin B. Schwartz
                                             Irwin B. Schwartz




                                      Certificate of Service

        I, Irwin B. Schwartz, as attorney for defendants Grove Services, Inc. and Victor Spivak,
hereby certify that on this 27th day of October 2023, I filed the foregoing document with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to all counsel
of record.

                                             /s/ Irwin B. Schwartz
                                             Irwin B. Schwartz




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